      Case 2:09-cr-02049-FVS    ECF No. 119   filed 12/21/09   PageID.430 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
 3

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 5
     UNITED STATES OF AMERICA,
                                                        No.    CR-09-2049-FVS-1
 6
                       Plaintiff,                              CR-09-2049-FVS-2

 7
                                                        ORDER GRANTING MOTION TO
                 v.                                     SUPPRESS AND DENYING
 8
                                                        MOTION TO SEVER

 9
     STEVEN R. RIDGEWAY ANDERSON and
     ANN MARGARET ALIBERTI,
10
                       Defendants.
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          THIS MATTER have come before the Court on December 18, 2009, for
13
     an evidentiary hearing; the Court having considered both the evidence
14   presented by the parties and their arguments; Now, therefore
15        IT IS HEREBY ORDERED:
16        1. Steven R. Ridgeway Anderson’s motion to suppress (Ct. Rec. 91)

17   is granted to the extent indicated by the Court at the conclusion of
     the evidentiary hearing on December 18, 2009.
18
          2. Steven R. Ridgeway Anderson’s motion to sever his trial from
19
     his codefendant’s trial (Ct. Rec. 94) is denied for the reasons given
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     by the Court on December 18, 2009.
21
          IT IS SO ORDERED.       The District Court Executive is hereby
22
     directed to enter this order and furnish copies to counsel.
23        DATED this    21st        day of December, 2009.
24
                                s/ Fred Van Sickle
25                                 Fred Van Sickle
                         Senior United States District Judge
26



     ORDER - 1
